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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                  CASE NO. 22-80022-CR-CANNON


  UNITED STATES OF AMERICA,

          Plaintiff,
  vs.

  DANIEL M. CARVER, et al.,

        Defendants.
  ________________________________/

        ORDER GRANTING UNOPPOSED MOTION TO CONTINUE TRIAL, SETTING
            DEADLINE FOR THE FILING OF FILTER PROTOCOL MOTION,
                   AND SETTING SCHEDULING CONFERENCE

          THIS CAUSE comes before the Court on Defendants’ “Joint Motion for Complex Case

  Designation and Request for a Scheduling Conference” (“Joint Motion”) [ECF No. 146]. The

  Joint Motion asks the Court to continue the current trial period commencing April 25, 2022, and

  to hold a scheduling conference in light of the complex nature of the case and the voluminous

  discovery at issue.     The Court has reviewed the Motion and is otherwise fully advised.

  Following that review, it is

          ORDERED AND ADJUDGED that Defendants’ Joint Motion [ECF No. 146] is

  GRANTED for the reasons stated in the Motion. The Court finds that the interests of justice

  served by a continuance outweigh any interest of the public or the Defendants in a speedy trial.

  As a result, the Court finds that the period of delay resulting from this continuance—i.e., from the

  date the Motion was filed, March 24, 2022, to including the date trial commences—is excludable

  time under the Speedy Trial Act. See 18 U.S.C. § 3161.

          The parties shall adhere to the following pre-trial and trial schedule:

          1. Calendar call will be held on Tuesday, July 26, 2022, at 1:45 pm. The case is set for
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             Jury Trial during the two-week trial period that begins August 1, 2022.

          2. All pre-trial motions and motions in limine must be filed by July 1, 2022. Each party

             is limited to filing one motion in limine; if there is more than one Defendant,

             Defendants shall file a combined motion but may ask for leave to exceed the page limit.

          3. All other instructions set forth in the Court’s Order Setting Trial [ECF No. 137] remain

             in effect.

          4. The parties are reminded to adhere to the Court’s Local Rules in all respects, including

             in the preparation of pre-trial motions.

          5. On or before April 8, 2022, the Special Matters Unit of the Fraud Section of the U.S.

             Department of Justice must file a motion seeking an order related to a proposed filter

             protocol. The parties are advised of the conferral requirements of Local Rule 88.9.

          6. The Calendar Call currently set for April 19, 2022 will be converted to a Status

             Conference and is reset for 9:30 a.m. This is an in-person hearing. The Court

             is mindful of the document review issues described in the Joint Motion and has

             therefore granted the instant lengthy continuance.           Any future motions for

             continuances or extensions, however, will be granted only upon a showing of

             particularized need and weighed against the parties’ continuing obligations to

             prepare diligently for trial in accordance with the deadlines set forth in this Order.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 30th day of March

  2022.


                                                          _________________________________
                                                          AILEEN M. CANNON
                                                          UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
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